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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION



 SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                              C.A. No. 4:15-cv-358-O
                           v.

 CHRISTOPHER A. NOVINGER,
 BRADY J. SPEERS,
 NFS GROUP, LLC d/b/a NOVERS FINANCIAL
 a/k/a SAFE RETIREMENT EXPERTS,
 ICAN INVESTMENT GROUP, LLC, and
 SPEERS FINANCIAL GROUP, LLC,

                                      Defendants.



    FINAL JUDGMENT AS TO DEFENDANT SPEERS FINANCIAL GROUP, LLC

       The Securities and Exchange Commission having filed a Complaint and Defendant

Speers Financial Group, LLC (“Defendant”) having entered a general appearance; consented to

the Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry

of this Final Judgment without admitting or denying the allegations of the Complaint (except as

to jurisdiction and except as otherwise provided herein in Paragraph IV); waived findings of fact

and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                   I.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 15(a) of the Exchange Act [15

U.S.C. § 78o(a)] by, directly or indirectly, making use of the mails or any means or

instrumentality of interstate commerce to effect any transactions in, or to induce or attempt to
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induce the purchase of, any security, without being registered as a broker and/or dealer pursuant

to Section 15(b) of the Exchange Act [15 U.S.C. § 78o(b)].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable, jointly and severally with Defendants NFS Group, LLC d/b/a Novers Financial a/k/a

Safe Retirement Experts and Brady J. Speers, for disgorgement of $336,680, representing profits

gained as a result of the conduct alleged in the Complaint, together with prejudgment interest

thereon in the amount of $39,949, for a total joint and several liability of $376,629. Defendant

shall satisfy this obligation by paying $376,629 to the Securities and Exchange Commission

within 14 days after entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard

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       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Speers Financial Group, LLC by name as a defendant in this action; and specifying

that payment is made pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.

       The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 14 days following entry of this Final Judgment. Defendant shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                 IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

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securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                                V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


       SO ORDERED on this 6th day of June, 2016.




                                         _____________________________________
                                         Reed O’Connor
                                         UNITED STATES DISTRICT JUDGE




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